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                   DECLARATION IN SUPPORT OF PLAINTIFF'S REQUEST FOR PROTECTIVE ORDER




      I, Jane Doe, the Plaintiff in this matter proceeding under a pseudonym, state as follows:
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      1.       I am a competent adult over 18 years of age able to testify as to personal knowledge. The facts
      in this declaration are true and correct to the best of my knowledge, information, and belief, and I am
      competent to testify to them if called upon to do so.

      2.      I was subject to extreme sexual and physical abuse by the Defendants, including forcible rape,
      that took place at several parties of Defendant Epstein during the summer of 1994 in New York City at a
      residence used by Defendant Epstein. During this period, I was 13 years old.

      3.       More particularly, I traveled by bus to New York City in June 1994 in the hope of starting a
      modeling career. I went to several modeling agencies but was told that I needed to put together a
      modeling portfolio before I would be considered. I then went to the Port Authority in New York City to
      start to make my way back home. There I met a woman who introduced herself to me as Tiffany. She
      told me about the parties and said that, if I would join her at the parties, I would be introduced to
      people who could get me into the modeling profession. Tiffany also told me I would be paid for
      attending.

      4.      The parties were held at a New York City residence that was being used by Defendant Jeffrey
      Epstein. Each of the parties had other minor females and a number of guests of Mr. Epstein, including
      Defendant Donald Trump at four of the parties I attended. I understood that both Mr. Trump and Mr.
      Epstein knew that I was 13 years old.

      5.       Defendant Trump had sexual contact with me at four different parties in the summer of 1994.
      On the fourth and final sexual encounter with Defendant Trump, Defendant Trump tied me to a bed,
      exposed himself to me, and then proceeded to forcibly rape me. During the course of this savage sexual
      attack, I loudly pleaded with Defendant Trump to stop but he did not. Defendant Trump responded to
      my pleas by violently striking me in the face with his open hand and screaming that he would do
      whatever he wanted.

      6.       Immediately following this rape, Defendant Trump threatened me that, were I ever to reveal
      any of the details of Defendant Trump's sexual and physical abuse of me, my family and I would be
      physically harmed if not killed.

      7.       Defendant Epstein had sexual contact with me at two of the parties that summer. On the
      second occasion involving Defendant Epstein, Defendant Epstein forced himself upon me and proceeded
      to rape me anally and vaginally despite my loud pleas to stop. Defendant Epstein then attempted to
      strike me about the head with his closed fists while he angrily screamed at me that he, Defendant
      Epstein, should have been the one who took my virginity, not Defendant Trump, before I finally
      managed to break away from Defendant Epstein.




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8.      Immediately following this rape, just like Defendant Trump, Defendant Epstein threatened me
not to ever reveal any of the details of Defendant Epstein's sexual and physical abuse of me or else my
family and I would be physically harmed if not killed.

9.       Both Defendants had let me know that each was a very wealthy, powerful man and indicated
that they had the power, ability and means to carry out their threats. Indeed, Defendant Trump stated
that I shouldn't ever say anything if I didn't want to disappeifr like Maria, a 12-year-old female that was
forced to be involved in the third incident with Defendant Trump and that I had not seen since that third
incident, and ~hat he was capable of having my whole family killed.

10.     The duress imposed on me by Defendants not to ever reveal any of the details of the sexual and
physical abuse caused to me by Defendants has not terminated and the fear it has instilled in me has not
subsided. Unfortunately, making matters worse for me, I was subjected to daily painful reminders of
the horrific acts of Defendant Trump via mass media coverage of him starting last summer that, over a
short period of time, became continuous and unavoidable.

11.      The duress had prevented me from starting litigation before this year. However, as soon as I
surfaced, I received threats. More specifically, shortly after my first complaint was filed in California on
April 26, 2016, I started receiving threatening phone calls on a cell phone I then owned. The calls were
never for more than 20 seconds or so before they hung up and they were always from a blocked or
unavailable phone number according to my caller ID feature. Since I changed phone numbers, the
threatening calls have completely stopped.

12.     This litigation involves matters that are highly sensitive and of a personal nature, and I believe
that identification of me would pose a risk of retaliatory physical harm to me and to others.

13.      I have no reason to believe that the Defendants' threats have ever been lifted or will ever be
lifted and so I request that the Court issue an order protecting me and my family from harm and
harassment by the Defendants.




I declare under penalty of perjury that the foregoing is true and correct.




DATED: June 18, 2016
